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                  EXHIBIT A
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                 PRELIMINARY INSTRUCTION # X: Evidence Not Admissible Against
                                Christopher Cantwell1

          Each party is entitled to have the case decided solely on the evidence that applies to that

 party. Some of the evidence in this case is limited under the rules of evidence to some of the

 parties and cannot be considered against the others. Plaintiffs will introduce deposition testimony

 of Dillon Hopper of Defendant Vanguard America from two different dates, August 13, 2019 and

 July 7, 2020. I instruct you that the deposition of Dillon Hopper from July 7, 2020 should not be

 considered by you in connection with Defendant Christopher Cantwell. Both depositions of

 Hopper can be considered by you against all the other defendants, but only the deposition of

 Hopper from August 13, 2019 may be considered against Defendant Cantwell.




 1
  Seventh Circuit Pattern Jury Instruction No. 2.03; Eighth Circuit Pattern Jury Instruction No. 2.08; Western District
 of Virginia Standard Jury Instructions.
